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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 GUO WENGUI a/k/a MILES KWOK                         )
                                                     )
        Plaintiff,                                   )
                                                     ) Case No. 1:19-cv-3195-JEB
                v.                                   )
                                                     ) Hon. James Boasberg
 CLARK HILL PLC and THOMAS K.                        )
 RAGLAND                                             )
                                                     )
        Defendants.                                  )
                                                     )
                                                     )

 JOINT MOTION FOR STAY AND FOR MODIFICATION OF SCHEDULING ORDER


       Plaintiff Guo Wengui and Defendants Clark Hill PLC and Thomas K. Ragland, through

their respective counsel, hereby submit this joint motion to stay the action until May 14, 2021

while the parties engage in a mediation before a neutral third party, and to vacate the Court’s March

2, 2021 minute order setting the current case schedule. In support of this motion, the parties state:

       1.      On March 2, 2021, the Court entered an order setting certain deadlines for this

action. The order sets June 1, 2021 as the deadline for fact discovery, June 16, 2021 as the date

for Plaintiff’s expert disclosures, July 19, 2021 as the date for Defendant’s expert disclosures, and

August 30, 2021 as the close of expert discovery.

       2.      Since then, the parties have diligently pursued fact discovery in this action,

including responding to additional written discovery, have begun taking depositions, and are in

the midst of scheduling the remainder.

       3.      The parties have agreed to privately mediate their dispute on April 29, 2021 before

the Honorable Richard Levie (retired), and want to allow themselves time to fully engage in the

mediation process while not expending resources conducting discovery.

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        4.      The parties therefore jointly request that the Court enter an order staying the case

until May 14, 2021 and vacating the case schedule entered by minute order on March 2, 2021.

        5.      If the parties’ mediation is unsuccessful, the parties will work together in good faith

to agree to a modified case schedule, and submit the same for the Court’s consideration by May 7,

2021.

        WHEREFORE, for the reasons set forth above, the parties respectfully request that the

Court grant this motion, stay the case until May 14, 2021, and vacate the case schedule entered on

March 2, 2021.




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Dated: April 2, 2021                       Respectfully submitted,



GUO WENGUI                                 CLARK HILL PLC and
                                           THOMAS K. RAGLAND

By:   /s/ Ari S. Casper                    By:     /s/ John R. Storino
      One of his attorneys                         One of their attorneys

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                               CERTIFICATE OF SERVICE

       I, John R. Storino, an attorney, hereby certify that I served the foregoing document on all

counsel of record by electronic service via CM/ECF on this, the 2d day of April, 2021.



                                                             /s/ John R. Storino




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